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                                United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


     STATE OF TEXAS,                                §
                                                    §
                       Plaintiff,                   §
                                                    §
     v.                                             §     Civil Action No. 4:24-CV-499
                                                    §     Judge Mazzant
     UNITED STATES DEPARTMENT OF                    §
     LABOR, et al.,                                 §
                                                    §
                      Defendants.                   §

                                                ORDER

              On May 22, 2024, Plano Chamber of Commerce, et al. v. United States Department of Labor,

    et al., 4:24-CV-468 (E.D. Tex.), was filed and assigned to the Honorable Sean D. Jordan. That case

    was the first case filed in the Sherman Division of the United States District Court for the

    Eastern District of Texas challenging Defining and Delimiting the Exemptions for Executive,

    Administrative, Professional, Outside Sales, and Computer Employees, 89 FED. REG. 32842 (Apr.

    26, 2024) (to be codified at 29 C.F.R. pt. 541). Because the present case challenges the same

    regulations as the first-filed case, the Court transfers the present case to the Honorable Sean D.

    Jordan.
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              It is therefore ORDERED that this case is TRANSFERRED WITHOUT DELAY to the

    Honorable Sean D. Jordan.

              IT IS SO ORDERED.

              SIGNED this 4th day of June, 2024.




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                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
